Case 3:18-cV-00151-KRG Document 1-1 Filed 07/30/18 Page 1 of 3
1544 <Rev- °6/17> CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fil_in§ and service of pleadings or other papers as re uired by law, except as
provided by local rules of_court. This form, approved by the J udicial Con erence of the nited States in eptember 1974, is required for the use of the lerk of Court for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE 0F THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
(b) County ofResidence of First Listed Plainti`ff Blair County County of Residence of First Listed Defendant Beaverton , OR
(EXCEPTIN U.S. PLAINT[FF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

(C Attorneys (Firm Name, Address, and Telephone Number) /'\ftomeysl (I_fKnown) _
Sy . Lamp|, Esq. Eric J. Phi||ips, Esquire
Robert 0 Lamp| Law Office H|adik Onorato & Federman, LLP
223 Fourth Ave, 4th F|oor, Pittsburgh PA 15222 Phone: 412-392-0330 298 Wissahlckon Ave, North Wa|es, PA 19454 Phone: 215-855-9521
II. BASIS OF JURISDICTION (Place an ”X" in One Box Only) III. CITIZENSHIP OF PR!NCIPAL PARTIES (Place an “X" in One Box for P/ainli#
_ (For Diversity Cases Only) and One Boxfor Defendanl)
Cl 1 U.S. Government Cl 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Governmem Nol a Party) Citizen of This State tx 1 l:l 1 Incorporated or Principal Place l:l 4 IJ 4
of Business In 'I'his State
|J 2 U.S. Govei'nment 5 4 Diversity Citizen ofAnot.l'ier State El 2 tx 2 lncorporated and Principal Place 111 5 [X 5
Defendant (Indicale Citi'zenship of Parties in Item III) of Business In Another State
Citizen or Subject of a El 3 |:l 3 Foreign Nation ' Cl 6 Cl 6
Foi'eigi_‘i Country
IV. ATURE OF UIT (Place an ‘X" in One Box Only) Click here fo Nature of Suit C dc Dcscri tions.

   
 

 
 
     

    
 
   

   
 

             

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|J 110 Insurance PERSONAL lNJURY PERSONAL lNJURY Cl 625 Drug Related Seizui'e l:l 422 Appeal 28 USC 158 |j 375 False Claims Act
|J 120 Ma.rine Cl 310 Airplane CI 365 Personal lnjury - of Property 21 USC 881 |:l 423 Withdrawal I:I 376 Qui Tam (31 USC
13 130 Miller Act l:l 315 Airplane Product Product Liability ij 690 Other 28 USC 157 3729(a))
13 140 Negotiable Instrument Liability IJ 367 Health Care/ l:l 400 State Reapportionment
13 150 Recovery of Overpayrnent Cl 320 Assault, Libel & Pharmaceutical l:l 410 Antitrust
& Enforcement ofJudgment Slander Personal Injury CI pyng l:l 430 Banks and Banking
El 151 Medicare Act C'l 330 Federal Employers’ Product Liability l:l 830 Patent U 450 Commerce
El 152 Recovery of Defaulted Liability Cl 368 Asbestos Personal l'J 835 Patent - Abbreviated C| 460 Deponation
Student Loans lj 340 Marine Injury Product New Drug Application Cl 470 Racketeer Iniluenced and
(Excludes Veterans) El 345 Marine Product Liability CI 840 Trademark Corrupt Organizations
l:l 153 Recovery of Overpayment Liability l PERSONAL PROPERTY .‘~, 480 Consumer Credit
of Veterari’s Benet`its Cl 350 Motor Vehicle \:l 370 Other Fraud El 710 Fair Labor Standards E| 861 HIA (1395ff) CI 490 Cable/Sat TV
|'_'l 160 Stockholders’ Suits l'J 355 Motor Vehicle Cl 371 Truth in Lending Act El 862 Black Lung (923) C| 850 Securities/Commodities/
EI 190 Othei' Conti'act Product Liability Cl 380 Other Personal 13 720 Labor/Management El 863 DIWC/DIWW (405(g)) Exchange
CI 195 Contract Product Liability l:l 360 Of.her Personal Property Damage Relations Cl 864 SSID Title XV1 CI 890 Other Statutory Actions
D 196 Franchise Injury El 385 Property Damage |J 740 Railway Labor Act EI 865 RSI (405(g)) El 891 Agricultural Acts
l:l 362 Persoi'ial Injury ~ Product Liability Cl 751 Family and Medical l:l 893 Environmental Matters
Medical Malractice Leave Act l:l 895 Freedom of Information
|J 790 Othei' Labor Litigation ’_, Act
El 210 Land Condemnation El 440 Other Civil Rights Habeas Corpus: 13 791 Employee Retirement III 870 Taxes (U.S. Plaintiff El 896 Arbitration
El 220 Foreclosure Cl 441 Voting Cl 463 Alien Detainee lncome Security Act or Defendant) l:l 899 Administrative Procedure
l:l 230 Rent Lease & Ejectment CI 442 Employment 13 510 Molions to Vacate |‘J 871 IRS_Third Party Act/Review or Appeal of
Cl 240 Torts to Land El 443 Housing/ Sexitence 26 USC 7609 Agency Decision
|:l 245 Tort Product Liability Accommodations \:l 530 General l:l 950 Constit‘utionality of
El 290 All Other Real Property Cl 445 Amer. w/Disabilities - 111 535 Deat.h Penalty State Statutes
Employment Other: 13 462 Naturalization Application
l‘J 446 Amer. w/Disabilities - Cl 540 Mandamus & Other |J 465 Otl'ier Immigration
Other El 550 Civil Rights Actions
CI 448 Education D 555 Pi'ison Condition
Cl 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN, (Place an "X” in One Box Only)
El 1 Original MZ Removed from Cl 3 Remanded from El 4 Reinstated or lj 5 Transferred from 13 6 Multidistrict Cl 8 Multidistrict
Proceeding State Couit Appellate Court Reopened Another District Litigation - Litigation ~
(specij)) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Da not cite jurisdictional statutes unless diversity):
28 U.S.C. §1331 and §1332
VI‘ CAUSE OF ACTION Brief description of cause:
P|aintiff alleges violations of RESPA and FCRA
VII. REQUESTED IN \II cHEcK IF THIs is A CLAss ACTION DEMAND $ CHECK YES Only if demanded in complaint
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: 12[ Yes ElNo
VIII. RELATED CASE(S)
IF ANY (See insiructions):
JU?GE /? DOCKET NUMBER
DATE S N 1 'I"_I`O § OF RECORD
1 , ' _/m
07/30/2018 MW///
FOR OFFlCE USE ONLY // l ' "

 

RECEIPT # AMOUNT A.PP YING IFP JUDGE MAG. JUDGE

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JS 44A REVISED June, 2009
IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A

This case belongs on the ( Q Erie ® Johnstown QPittsburgh) calendar.

1. ERIE CALENDAR ~ If cause of action arose in the counties of Crawford, Elk, Erie,
Forest, McKean. Venang or Warren, OR any plaintiff or defendant resides in one of said
counties.

2. JOHNSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair,

Cambria, Clearfield or Somerset OR any plaintiff or defendant resides in one of
said counties.

3. Complete if on ERIE CALENDAR: I certify that the cause of action arose in
County and that the resides in County.

4. Complete if On JOHNSTOWN CALENDAR: I certify that the cause of action arose in
B|aif' County and that the Defendam$ resides in C°"p°"ati°ni"‘ Beave't°" OR County.

PART B (You are to check ONE of the following)

1. 9 This case is related to Num.ber . Short Caption
2. @ This case is not related to a pending or terminated case.

 

DEFINlTIONS OF RELATED CASES:

CIVIL: Civil cases are deemed related when a case filed relates to property included in
another suit or involves the same issues of fact or it grows out of the same transactions
as another suit or involves the validity or infringement of a patent involved in another
suit EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership
groups which will lend themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS &CIVIL RIGHTS: All habeas corpus petitions filed by the same individual
shall be deemed related. All pro se Civil Rights actions by the same individual shall be
deemed related.

PARTC ,

I. CIVIL CATEGORY (Select the applicable category) .
l. 6 Antitrust and Securities Act Cases

0 Labor-Management Relations

Q Habeas corpus

O civil Rights

9 Patent, Copyright, and Trademark

. 0 Eminent Domain

O All other federal question cases

® All personal and property damage tort cases, including maritime, FELA,

Jones Act, Motor vehicle, products liability, assault, defamation, malicious
9 prosecution, and false arrest
0

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9.
10

Insurance indemnity, contract and other diversity cases.

Government Collection Cases (shall include HEW Student Loans (Education),
V A Overpayment, Overpayment of Social Security, Enlistment
Overpayment (Army, Navy, etc.), HUD Loans, GAO Loans (Misc. Types),
Mortgage Foreclosures, SBA Loans, Civil Penalties and Coal Mine
Penalty and Reclamation Fees.)

I certify that to the best of my knowledge the entries on this Case D signation
Sheet are true and correct

Date= Juiy30,2018 v l /// ll

v v l 1

ATTORNEY AT AW

`NOTE: ALL SECTIONS OF BOTH FORMS MUST BE COMPLETED B OR CASE CAN BE PROCESSED.

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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the J udicial Conference of the United States in September 1974, is
required for the use of the Clerk of Couit for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as‘follows:

1.(a)
(b)
(c)

II.

III.

IV.

VI.

VII.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "def`e_ndant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule S(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings Place an "X"
in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.

United States plaintiff (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.) '

Residenee (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box_.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date. ‘

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers

Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the correspondingjudge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

